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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
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                                                               :
   UNITED STATES OF AMERICA,                                   :
                                                               :   ORDER
                          - against -                          :
                                                               :   09-cr-0466 (BMC)
   JOAQUIN ARCHIVALDO GUZMAN                                   :
   LOERA,                                                      :
                                                               :
                                         Defendant.            :
   ----------------------------------------------------------- X
  COGAN, District Judge.

          Defendant is currently incarcerated at the Metropolitan Correctional Center (“MCC”),

  following his trial and conviction for, among other crimes, leading a continuing criminal

  enterprise in violation of 21 U.S.C. § 848(a). By letter [614] dated May 9, 2019, defendant

  moved to modify the Special Administrative Measures (“SAMs”) imposed on him to allow

  defendant (1) at least two hours of outdoor recreation per week, (2) to access to the general

  population commissary, (3) to purchase six water bottles every week, and (4) to obtain a set of

  earplugs to alleviate pain in his ear and to help him sleep. I will address each of these requests in

  turn.

          Defendant’s motion for outdoor recreation time is denied. As defendant recognizes, he

  was originally placed under these conditions of confinement to further the legitimate

  Government objective of preventing him from escaping from prison or directing any attacks on

  individuals who were cooperating with the Government. But defendant notes that, as I

  acknowledged during trial, his conduct has been exemplary since he was placed in the custody of

  the United States, and he argues that his exemplary conduct suggests that the SAMs do not

  actually further the Government’s stated goal. I agree with defendant that his conduct was and

  remains exemplary, but that conduct is a direct consequence of the strict conditions of
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  confinement in which he finds himself. His continued good behavior is not a reason to modify

  them, it is a reason to keep them in place.

         Defendant also argues that his conditions of confinement are more onerous than those

  imposed on individuals who have been punished for acts of violence within the prison or other

  rule infractions, but defendant’s conditions of confinement are tailored to his specific history,

  including two prior prison escapes, and his specific crimes, including previously running the

  Sinaloa Cartel from prison and engaging in multiple murder conspiracies to kill his enemies,

  which were proven beyond a reasonable doubt at trial.

         The Government has pointed to credible evidence about a prison escape attempt at the

  MCC from the only outdoor recreation area available for SAMs inmates, which, given the

  evidence introduced at trial about defendant’s means and methods of running the Sinaloa Cartel

  (especially evidence related to his previous prison escapes), makes it plausible that defendant

  could try to recreate such an escape attempt if the opportunity presented itself. The fact that this

  prior escape attempt happened in 1981 does not mean that the Government’s position is

  incredible, just like the fact that defendant’s two prior escapes also happened a while ago does

  not deprive them of their probative value in this instance. This SAM is not designed to punish

  defendant, nor is it excessive or arbitrary; it furthers very real security concerns and will

  therefore remain in place.

         Defendant’s motion for access to the general population commissary is also denied.

  First, the Government represents that all SAMs inmates are restricted from having access to the

  general population commissary for security reasons, because many items on that list can be

  weaponized. I will not second-guess the Bureau of Prison’s (“BOP”) determination that certain

  commissary items are too dangerous to give SAMs inmates. Moreover, defendant does not




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  identify in his motion any items other than water bottles (which is addressed below) and food

  items that he would seek to purchase from the general population commissary, so there is no

  articulable basis to suggest that anything is being unreasonably withheld from him in violation of

  his constitutional rights.

          Defendant’s motion to purchase six water bottles per week is denied as moot. The

  Government represents that the MCC’s records show that he has been receiving six water bottles

  per week since April 2019. Defendant does not deny that claim in his reply, but instead

  challenges the BOP’s initial denial of his request for bottled water and cites to the negative

  health effects that this denial had on him. Presumably, the BOP has resolved this issue by giving

  defendant access to the requested water bottles, and my role is not to redress defendant’s prior

  grievances. If defendant still maintains that this is not the case, and he continues to be denied

  bottled water, the parties will have to supply me with proof to support their positions, and the

  Government will have to articulate the penological purpose that denying defendant bottled water

  furthers, so that I can make an informed decision on this matter. I will reiterate to the parties that

  these types of issues can and should be resolved without court intervention (but, of course, if

  they are not so resolved, defendant may still bring them to my attention).

          Defendant’s motion for access to earplugs is similarly denied. As an initial matter, this

  request is illogical. In support of his claim that he needs earplugs to help with his ear pain and

  irritation, defendant cites to his inability to use the Court-issued earphones during trial because

  of his ear pain. If earphones exacerbated his ear condition during trial, I do not see how using

  earplugs will help the condition now. I do understand why earplugs would help defendant sleep,

  which is the other basis for his motion, but the Government represents that the MCC does not

  permit any inmate – SAMs or otherwise – to use earplugs due to legitimate safety concerns that




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  the inmates would not hear guards in an emergency or would use them to ignore the guards.

  Defendant contends that this is not true, but even if other inmates can purchase earplugs, I once

  again will not second-guess the BOP if it determines that defendant cannot have earplugs due to

  the unique safety concerns that he presents.

         None of these conditions of confinement, considered alone or cumulatively, violate

  defendant’s constitutional rights. Rather, defendant’s challenged conditions of confinement

  continue to further legitimate Government objectives and remain “reasonably related to a

  legitimate penological interest.” Turner v. Safley, 482 U.S. 78, 89 (1987). There have been no

  material changes in defendant’s circumstances warranting modification of the SAMs.

         Finally, because I find that the challenged conditions of confinement satisfy the Turner

  standard, I reject defendant’s proposal that I transfer him to a different facility while he awaits

  sentencing.

  SO ORDERED.
                                          Digitally signed by
                                          Brian M. Cogan
                                          _______________________________________
                                                             U.S.D.J.
  Dated: Brooklyn, New York
         June 3, 2019




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